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6                                 UNITED STATES DISTRICT COURT
7                            EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,                    No. 2:20-cr-00211-TLN
10                   Plaintiff,
11        v.
12   MATTHEW PIERCEY,
13                   Defendant.
14

15   UNITED STATES OF AMERICA,                    No. 2:20-cr-00216-TLN
16                   Plaintiff,
17        v.
18   KENNETH WINTON,                              RELATED CASE ORDER
19                   Defendant.
20
     _______________________________
21   UNITED STATES OF AMERICA,                    No. 2:24-cr-00163-DJC
22                   Plaintiff,
23        v.
24   GARY KLOPFENSTEIN,
25                   Defendant.
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28       Plaintiff filed a Notice of Related Cases on June 28, 2024. Examination of the above-
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1    captioned actions reveals they are related within the meaning of Local Rule 123 (E.D. Cal. 1997).
2    Pursuant to Rule 123 of the Local Rules of the United States District Court for the Eastern
3    District of California, two actions are related when they involve the same parties and are based on
4    the same or similar claim(s); when they involve the same transaction, property, or event; or when
5    they “involve similar questions of fact and the same question of law and their assignment to the
6    same Judge . . . is likely to effect a substantial savings of judicial effort.” L.R. 123(a). Further,
7                    [i]f the Judge to whom the action with the lower or lowest number
                     has been assigned determines that assignment of the actions to a
8                    single Judge is likely to effect a savings of judicial effort or other
                     economies, that Judge is authorized to enter an order reassigning all
9                    higher numbered related actions to himself or herself.
10   L.R. 123(c).
11          The Court concludes the cases involve the same questions of law and fact as they arose
12   from the same conduct. Reassignment of the cases to the same district judge is “likely to effect a
13   substantial savings of judicial effort” because it will necessarily avoid the “substantial duplication
14   of labor” by the judiciary of this district, including any issues regarding discovery or admissibility
15   of evidence and any questions of law that may arise thereto. See E.D. Cal. L.R. 123(a)(3)-(4).
16          Relating the cases under Local Rule 123, however, merely has the result that both actions
17   are assigned to the same judge, it does not consolidate the actions. Under the regular practice of
18   this Court, related cases are generally assigned to the judge and magistrate judge to whom the
19   first filed action was assigned.
20          IT IS THEREFORE ORDERED that the action denominated 2:24-cr-00163-DJC is
21   reassigned to District Judge Troy L. Nunley, and the caption shall read 2:24-cr-00163-TLN. Any
22   dates currently set in 2:24-cr-00163-DJC are hereby VACATED. IT IS FURTHER ORDERED
23   that the Clerk of Court adjust the assignment of criminal cases to compensate for this
24   reassignment.
25          IT IS SO ORDERED.
26   DATED: June 28, 2024
                                                                     Troy L. Nunley
27
                                                                     United States District Judge
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